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 Corporation

                   IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF ALASKA
 ALASKA INDUSTRIAL DEVELOPMENT
 AND EXPORT AUTHORITY, et al,

                     Plaintiffs,
         and



 STATE OF ALASKA,                                          Case No. 3:21-cv-00245-SLG

                      Intervenor-Plaintiff,
 v.

 JOSEPH R. BIDEN, JR., in his official               PLAINTIFFS’ AND
 capacity as President of the United States, et al., INTERVENOR-PLAINTIFF’S
                                                     MOTION TO ALTER OR
                   Defendants,                       AMEND SUMMARY
          and                                        JUDGMENT ORDER AND
                                                     JUDGMENT
 NATIVE VILLAGE OF VENETIE
 TRIBAL GOVERNMENT, et al.

                      Intervenor-Defendants


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        Plaintiffs Alaska Industrial Development and Export Authority, North Slope

Borough, Arctic Slope Regional Corporation, and Kaktovik Inupiat Corp. and Intervenor-

Plaintiff State of Alaska (collectively, “Plaintiffs”) respectfully move under Fed.R.Civ.P.

59 to alter or amend the August 7, 2023 Order granting summary judgment (“Order”) and

the related Judgment (Dkts. 72 and 73).1

        A. Lease Implementation Actions that do not Impact the Environment, Such
           as Archeological and Other Surveys, Should Proceed.

            1. Introduction.

        In that Order, the Court affirmed the decision of the Federal Agency Defendants to

suspend all actions necessary to implement the statutorily-mandated oil and gas leasing

program (the “Program”) on the Coastal Plain of the Arctic National Wildlife Refuge

(“ANWR”). The Court in its analysis relied on statutory provisions and lease terms that

address environment-impacting activities and so, however those terms are construed, do

not support the Agency Defendants’ overbroad application of their moratorium to block

even non-environment-impacting preliminary steps such as conducting archeological

surveys. See AR3394-3400 (refusal to authorize archeology survey, refusal to consider

preliminary seismic application). The Order and Judgment should be amended to




1
      The “district court enjoys considerable discretion in granting or denying the motion.”
Allstate Ins. Co. v. Herron, 634 F.3d 1101, 1111 (9th Cir. 2011) (quotation omitted).
“[M]anifest errors of law or fact” is a proper ground for grant of such a motion. Id.

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invalidate the Agency Defendants’ moratorium to the extent that the moratorium blocks

even non-environment-impacting preliminary steps like archeological surveys.2

          Agency Defendants now forecast publishing a draft SEIS in September, 2023.

See Order at 8. They earlier reported to the Court that it would take them one year from

that point to publish a revised record of decision, which would be September, 2024.

(Dkt. 85 at 5, Case 3:20-cv-00204-SLG). Archeology on the North Slope is done in a

late summer window, in August of each year. By amending its Order and Judgment, the

Court will facilitate Plaintiffs utilizing the August, 2024 window to conduct archeological

surveys. This avoids the loss of almost an entire year that would occur if Plaintiffs,

because of the overbroad moratorium imposed by Agency Defendants, cannot conduct

archeological surveys until the next window after that, which is in August, 2025.3 In

addition to archeological surveys, Agency Defendants at multiple instances in the Record

of Decision require Plaintiffs, as first steps, to conduct surveys and baseline studies that

do not impact the environment. But Plaintiffs can only proceed in those first steps if

approved by Agency Defendants, and so are blocked by the moratorium on the Program.4


2
      While Plaintiffs respectfully disagree with other aspects of the Order and Judgment, they
limit Point A of this motion to alter or amend to non-environment-impacting activities.
3
      The Agency Defendants relied on the broad scope of the moratorium in declining to
process permits for archeological survey work. AR3395. They alleged no environmental harm.
See id.; see also, Plaintiff-Intervenor Reply Brief, Dkt. 66 at 16-17 (“no reason exists to
implement the Moratorium while BLM prepares supplemental NEPA analysis. The Agency
Defendants have not identified any adverse impacts that would result from continuing to
implement the Program and, for example, from authorizing archeological surveys.”); Plaintiffs’
Reply Brief, Dkt. 67 at 13 (similar).
4
      See AR3207 (“The lessee/operator/contractor will conduct a cultural and paleontological
resources survey before any ground-disturbing activity, based on a study designed by the

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            2. Any Suspension Authority Borrowable from the NPRPA Does Not Apply
               to Pre-Operational Survey Work That Does Not Impact the Environment.

        In its Order, the Court cited the Tax Act’s direction that, “except as otherwise

provided in this section,” Federal Defendants should “manage the oil and gas program on

the Coastal Plain in a manner similar to the administration of lease sales under the Naval

Petroleum Reserves Production Act [NPRPA] of 1976, 42 U.S.C. § 6501, et seq.

(including regulations).” Order at 21-22 (citing Tax Act, Pub. Law 115-97. §

20001(b)(3)). Citing a NPRPA provision under which “the Secretary [of the Interior]

may direct or assent to the suspension of operations or productions on any lease or unit,”

42 U.S.C. § 6506a(k)(2), the Court upheld the Agency Defendants’ moratorium. Id.

        Even if applicable, the borrowed NPRPA provision does not go so far as to

authorize suspension of non-environment-impacting lease activities that are preliminary

steps before operations under a lease even begin.5 The very next sentence of the NPRPA

contemplates the Secretary using the suspension power “in the interest of conservation,”



lessee/operator/contractor and approved by the BLM Authorized Officer.”); see also, AR3163
(“Project proponents may be responsible for conducting or funding baseline studies, including
fish, wildlife and vegetations surveys where applicable” as “determined by the BLM ….”);
AR3168 (subsistence impact avoidance planning); AR3194 (must “develop an impact and
conflict avoidance an monitoring plan” for areas within two miles of the sea); AR3196 (“polar
bear interaction plans” must be developed “in consultation with and approved by the USFWS
….”); AR3197 (before filing site permit applications, lessee must obtain “a minimum of 1 year
of baseline ambient air monitoring data for pollutants of concern, as determined by the BLM.”)
        As can be seen from this list, the work Plaintiff seek to do now, pending the completion
of the Agency Defendants’ supplemental NEPA work, consists of activities such as walking the
land, collecting imagery and other data using passive means, and conducting interviews and
meetings within individuals inside ANWR, not digging or other ground-disturbing work.
5
   Plaintiffs showed that the NPRPA provision is not applicable to any of the issues in this case,
Dkt. 67 at 14-16, but will not re-argue that larger issue in the context of this narrow motion.

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which means to regulate environment-impacting actions, typically ground-disturbing

activities. 42 U.S.C. § 6506a(k)(3). In an implementing rule, BLM defines the

“circumstances” in which “BLM will require a suspension of operations and production”

as being when suspension “(1) … is in the interests of conservation of natural resources;

(2) … encourages the greatest ultimately recovery of oil and gas, such as by encouraging

the planning and construction of a new transportation system …; or (3) … mitigates

reasonably foreseeable and significantly adverse effects on surface resources.” 43 CFR

§ 3135.2(a) (emphasis added). The NPRPA suspension provision and its implementing

rule thus do not support the Order’s conclusion that the Agency Defendants may use that

provision to block the lessee’s pre-operational non-environment-impacting activities such

as archeological surveys. Moreover, the Agency Defendants who administer the Program

did not invoke the NPRPA provision. AR3364-65. Only Defendant-Intervenors cited it.

        An additional consideration is that archeological survey work and other early

permitting stage work that does not involve any surface disturbance is pre-operational,

and so is not “operations and production” within the scope of the NPRPA suspension

provision, 42 U.S.C. § 6506a(k)(2).6 In adopting the rule implementing the suspension


6
      See Summers Oil and Gas § 14:4 (3rd ed.) (collecting cases on what level of activity by the
lessee is active enough to qualify as “operations” under an oil and gas lease). Although the
NPRPA does not define “operations,” a DOI regulation for non-Alaska NPS units places
reconnaissance surveys” outside the definition of “operations.” 36 CFR § 9.40(2). The Record
of Decision in this case does not define “operations” but describes “operations” as occurring later
in the Program, after environmental review is conducted, which strongly implies there are also
pre-operational permitting stage activities, such as archeological surveys, that are not operations:
    “… [T]the BLM will consider alternatives to avoid adverse effects and incompatible
    development to protect the various cultural resources, subsistence resources and their habitat,

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provision, Federal Defendant BLM explained that “BLM is committed to addressing

environmental and subsistence issues prior to any development. However, there may be

unanticipated issues, such as undiscovered archaeological finds or endangered species,

that may not be evident prior to operations commencing.” 67 Fed.Reg. 17,866, 17,867

(April 11, 2002). Thus, the rule contemplates that archeological work would usually be

completed “prior to operations commencing,” i.e., that such work is not “operations.”

            3. Lease § 6 Only Addresses Environment-Impacting Operations.

        The Court’s interpretation of Plaintiff AIDEA’s lease contains a similar error.

Although not briefed by the parties, the Court cited Lease § 6 as supporting its conclusion

that the Agency Defendants may lawfully temporarily suspend lease activities to take

steps to protect the environment. Order at 39-40. However, Lease § 6 is limited to

preventing harm to the environment and thus to environment-impacting “operations”:

        Sec. 6 Conduct of operations – Lessee shall conduct operations in a manner
        that minimizes adverse impacts to the land, air, and water, to cultural,
        biological, visual, and other resources, and to other land uses or uses. To the
        extent consistent with the lease rights granted, lessee shall take reasonable
        measures deemed necessary by lessor to accomplish the intent of this section.
        Such measures may include, but are not limited to, modification to siting or
        design of facilities, timing of operations, and … reclamation measures. ….

AIDEA Lease, AR3321. Section 6 echoes the NPRPA suspension provision discussed

above in that it does not address (or provide Agency Defendants with authority to

suspend) pre-operational non-environment-impacting activities. If the preliminary


    and human health and the environment, before any on-the-ground activities are approved.
    This will be done through subsequent NEPA analysis, which will be conducted before any
    construction or operation permits or approvals are issued.” AR3171 (emphasis added).

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actions under the ROD such as archeological and other surveys will not result in adverse

impacts to the environment, suspension of those activities is not necessary or reasonable.7

                4. Conclusion – Actions Not Impacting the Environment.

        The Court earlier declined to grant project opponents a preliminary injunction

preventing Agency Defendants from issuing the lease to Plaintiff AIDEA, distinguishing

the non-ground-disturbing activities that would occur immediately following issuance of

leases from the ground-disturbing activities that would only occur later, after further

environmental analysis. Gwich’in Steering Committee v. Bernhardt, 2021 WL 46703, *8

(D. Alaska Jan. 5, 2021) (finding no irreparable harm). The Court should draw a parallel

distinction here. It should amend its Order and Judgment and invalidate the Agency

Defendants’ overbroad moratorium to the extent it blocks Plaintiffs from conducting

preliminary steps such as archeological surveys that do not impact the environment.

        B. The Order Infers Too Much From the Absence of Specific Statutory
           Deadlines Regarding Follow-Up Actions Implementing the Major
           Directed Action.

        The Court relied on Gen. Motors Corp. v. United States, 496 U.S. 530 (1990), in

discerning a dispositive contrast between: (1) the Tax Act provision mandating that

Federal Defendants issue an oil and gas lease for the Coastal Plain by a date certain

(December, 2021) and (2) other Tax Act provisions that mandated that the Federal


7
      Delay in carrying out non-environment-impacting surveys and baseline studies that are a
necessary pre-requisite to seeking subsequent project approvals does substantially burden
Plaintiffs. Order at 39. Such actions would not cause ground disturbance to any acreages or to
subsistence hunting or fishing. See Order at 57 and n. 236 (discussing BLM’s reconsideration of
number of acres that may lawfully be subject to surface disturbance and ANILCA § 810 issues).


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Defendants issue rights-of-ways and easements in connection with the lease, and take

other actions to implement and administer the lease, but without specifying deadlines.

Order at 18-19 and n. 78 (reviewing provisions in Pub. Law 115-97, § 20001). The Court

concluded that the various post-leasing agency tasks were subject “only … to” the

general Administrative Procedure Act requirement that agencies act within a “reasonable

period of time.” Order at 20 (citing 5 U.S.C. § 706(1)).

        General Motors concerned a very different statutory structure and so its holding is

not applicable here. The Clean Air Act (“CAA”) expressly addressed in different ways

the consequences of agency delay in performing two equally significant tasks, neither of

which was ancillary of the other. The CAA set a four month deadline for the

Environmental Protection Agency (EPA) to approve or reject a State’s original proposal

for air pollution rules (a “state implementation plan” or “SIP”). Gen. Motors, 496 U.S. at

536 (citing CAA § 110(a)(2), 42 U.S.C. § 7410(a) (1982)). The statute also addressed the

possibility of delay in a second EPA task, EPA’s approval or rejection of a State’s

proposal to revise an approved SIP. Id., 496 U.S. at 538 (citing CAA § 110(g)). The

CAA granted a specific remedy for EPA delay in approving or rejecting a revised SIP –

the State’s Governor could issue a short-term suspension of industry’s duty to comply

with the approved original SIP. See id. (quoting CAA § 110(g)(1)(B)).

        General Motors asked the Supreme Court to imply an additional remedy, that

when EPA was late in approving or rejecting a proposed revised SIP, EPA was barred

from enforcing the original SIP, apparently even after the express statutory remedy (the


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short-term suspension) had expired. See id. at 539-40. The Supreme Court declined,

holding that the EPA was not under a four month deadline to process proposals to revise

SIPs, that a rule of reasonableness governed delays, and that it could not be implied that

EPA was barred from enforcing the original SIP even if EPA had unreasonably delayed.

See id. Gen. Motors illustrates the canon that when a statute addresses related topics in

differing ways, the differences are presumed to be meaningful. However, its holding was

based on statute that expressly addressed in different ways the consequence of delays in

two equally significant and parallel agency tasks (deciding whether to approve original

SIPs and deciding whether to approve revised SIPs). That is not the situation here.

        By contrast, the Tax Act establishes a specific deadline for the major action, the

issuance of oil and gas leases, and directs the Federal Defendants to then take ancillary

follow-up actions, including the issuance of “necessary rights-of-way or easements” and

the “administration” of the program, without addressing the scenario of delay in the

follow-up implementing actions. Tax Act, Pub. Law. 115-97, § 20001(b)(2)(A),

(c)(1)(B) and (c)(2). Under this structure, a different canon of statutory construction

controls, the canon that a statutory direction or authority to take a main action implies the

authority and duty to take the variously ancillary actions necessary to make the main

action effective. Sutherland calls it the “Implied Powers” canon:

        A statute which confers powers or duties in general terms includes by implication
        all powers and duties incidental and necessary to make the legislation effective.

2B Sutherland Statutory Construction, § 55:4 (7th ed.) (emphasis added). [W]henever a

power is given by a statute, everything necessary to making it effectual or requisite to

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attaining the end is implied.” Antonin J. Scalia and Bryan A. Garner, Reading Law, the

Interpretation of Legal Texts at 60 (Thompson/West, 2012) (quotation omitted). There

are many examples illustrating this canon. See, e.g., Jackson v. City and County of San

Francisco, 746 F.3d 953, 967 (9th Cir. 2014) (“The Second Amendment … does not

explicitly protect ammunition. Nevertheless, without bullets, the right to bear arms

would be meaningless. … Thus the right to possess firearms for protection implies a

corresponding right to obtain the bullets necessary to use them.”) (quotation omitted).8

        As Sutherland further explains, legislation cannot be expected to address

“peripheral matters” in the same level of detail as the main matter:

        Courts extend statutes by implication and inference because legislation
        cannot practically or conveniently, or perhaps even possibly, specify all of
        the detailed operational effects it should have in all of the various
        circumstances to which it may apply. For this reason, statutory language
        tends to focus on a central idea, or to establish general principles or standards.
        Legislation often does not mention peripheral matters, or matters of minor
        detail, and if these could not be supplied by implication the drafting of
        legislation would be an interminable process and the true intent of the
        legislature likely to be defeated

Id., § 55:2 (quotation omitted). Thus, the absence in the Tax Act of detail with regard to

peripheral matters such as the limits or consequences of delays in issuing the mandatory

easements necessary to implement the Coastal Plain oil and gas leases, or the timing or

content of agency actions regarding archeology surveys to be conducted at the outset of

the post-leasing implement process, should not be accorded the dispositive significance


8
   Second Amendment law has since evolved, Warren v. U.S. Parole Commission, 2023 WL
5348825, *1 (9th Cir. Aug. 21, 2023), but the statutory construction principle remains.


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the Court in this case accorded that absence. See Order at 18-19.

         Unlike the statute involved in Gen. Motors, supra, the Tax Act does not address

one way or another the consequence of delay in the various implementing actions that

follow-up the issuance of the lease, but does mandate that the follow-up actions occur,

thereby effectuating the key directive in Tax Act § 20001(c)(1) to issue the leases. See

Tax Act § 20001(b)(2)(A) (Federal Defendants “shall … administer” all phases of the

Program, which includes the post-lease follow-up actions), (c)(2) (Federal Defendants

“shall issue any rights-of-way or easements across the Coastal Plain for the exploration,

development, production or transportation necessary to carry out this section”). The

Court should amend its Order and Judgement and recognize that the various follow-up

matters ancillary to the issuance of the leases by the December, 2021 statutory deadline

must be addressed by the Federal Defendants with an urgency and timeliness proportional

to the statutory deadline for the issuance of the leases.

        C. Conclusion

        The Court should amend its Order and Judgment to (1) set aside with respect to

non-environment-impacting steps the Federal Defendant’s moratorium on actions to

implement the ANWR Coastal Plains oil and gas program, and (2) direct the Federal

Defendants to carry out actions necessary to implement the oil and gas leases held by

Plaintiff AIDEA at a pace proportional to the urgency expressed by Congress in directing

that the Federal Defendants issue oil and gas leases by December, 2021.




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        Respectfully submitted this 5th day of September, 2023.

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